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     Attorney for Plaintiffs
7
8
                   THE UNITED STATES DISTRICT COURT
9               FOR THE NOTHERN DISTRICT OF CALIFORNIA
10
11
     Laura Loomer, as an individual,        Case No. 22-CV-2646
12   Laura Loomer, in her capacity as a     Hon. Laurel Beeler
     Candidate for United States
13
     Congress, and Laura Loomer for
14   Congress, Inc.,                        CERTIFICATE OF NO
                                            OBJECTION TO TWITTER
15                                          DEFENDANTS’ MOTION TO
                  Plaintiffs,
16                                          WITHDRAW AS COUNSEL
           v.
17
18   Facebook, Inc., Mark Zuckerberg,
19   in his capacity as CEO of Facebook,
     Inc. and as an individual, Twitter
20   Inc., and Jack Dorsey, in his
21   capacity as former CEO of Twitter,
     Inc. and as an individual,
22
                  Defendants.
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                            Certificate of No Objection
          Case 3:22-cv-02646-LB Document 65 Filed 08/25/22 Page 2 of 3




1          On August 24, 2022, Twitter Defendants filed Motion to Withdraw Tassity

2    Johnson as counsel.
3
           The undersigned hereby certifies that Plaintiffs have no objections to the
4
5    withdrawal.
6    Dated: August 25, 2022               Respectfully submitted,
7
8                                         John Pierce Law, P.C.
9
10                                        By: /s/Attorney name
                                          John M. Pierce
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                           Certificate of No Objection
          Case 3:22-cv-02646-LB Document 65 Filed 08/25/22 Page 3 of 3




1                        CERTIFICATE OF SERVICE
2
3         I hereby certify that, on August 25, 2022, the foregoing
4    document was filed via the Court’s electronic filing system, which
5
     constitutes service upon all counsel of record.
6
7                                       /s/ John M. Pierce
8                                       John M. Pierce

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                         Certificate of No Objection
